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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES - GENERAL
 Case No.       CV 16-8418-PSG (FFMx)                                                 Date    November 5, 2018
 Title          ENVIRONMENTAL DEFENSE CENTER ET AL -VS- BUREAU OF OCEAN
                ENERGY MANAGEMENT ET AL



 Present: The                 Philip S. Gutierrez, United States District Court Judge
 Honorable
                 Wendy Hernandez                                                Marea Woolrich
                    Deputy Clerk                                          Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:
      Linda Krop; George Torgun; Kristen Monsell;              Joseph Kim; Poe Leggette; Jonathan Hunter; Steven
                     Maggie Hall                                  Rosenbaum; Stephen Wiegand; Dawn Sestito

 Proceedings:              PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT
                           FILED 02-12-18 (DOC. 95)

                           PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT
                           FILED 02-12-18 (DOC. 96)

                           PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT
                           FILED 02-12-18 (DOC. 97)

                           FEDERAL DEFENDANTS' CROSS-MOTIONS FOR SUMMARY JUDGMENT
                           FILED 04-12-18 (DOC. 102)

                           INTERVENOR AMERICAN PETROLEUM INSTITUTE'S MOTION AND
                           CROSS-MOTION FOR SUMMARY JUDGMENT
                           FILED 05-14-18 (DOC. 106)

                           DEFENDANT-INTERVENOR DCOR, LLC'S MOTION AND CROSS MOTION FOR
                           SUMMARY JUDGMENT
                           FILED 05-14-18 (DOC. 107)

                           DEFENDANT-INTERVENOR EXXON MOBIL CORP.'S MOTION AND
                           CROSS-MOTION FOR SUMMARY JUDGMENT
                           FILED 05-14-18 (DOC. 108)


       Having considered all papers submitted in support of and in opposition to the Motions
referenced above, and the oral argument presented today, the Court takes the motions under
submission. A ruling will be issued after full consideration of the submitted pleadings.


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                                                               Initials of Preparer      wh




CV-90 (10/08)                                  CIVIL MINUTES - GENERAL                                      Page 1 of 1
